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                     Exhibit 20
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              HIGHLY CONFIDENTIAL: SUBJECT TO PROTECTIVE ORDER



                      IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF OHIO EASTERN DIVISION




   IN RE NATIONAL PRESCRIPTION
   OPIATE LITIGATION                          CASE NO. 1:17-MD-2804

                                              JUDGE POLSTER
   County of Summit, Ohio, et al.
                                              TRACK ONE CASES
   v.

   Purdue Pharma L.P., et al.


   The County of Cuyahoga

   v.

   Purdue Pharma L.P., et al.




        SUPPLEMENTAL EXPERT REPORT OF PROFESSOR MARGARET K. KYLE



                                    June 27, 2019
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         Expert Report of Margaret K. Kyle, PhD




         addition to the fields present in Ms. Keller’s data, I estimate the number of Norco prescriptions that
         each order would fill based on the average number of pills per prescription present in the IQVIA data
         that I rely on in my May 10 Report. The IQVIA data indicate an average of roughly 99 Norco pills
         per prescription at the time of these chargebacks. Because each Norco package in Figure 5 is made up
         of 100 dosage units, one Norco package equates to, on average, one prescription.11

(12)     Ms. Keller flags four chargeback transactions, which are reflected in Figure 5:

             An August 28, 2005 chargeback for a shipment of 6 Norco packages to a CVS store in Stow. This
              transaction is identified by Ms. Keller as double the national average of Allergan hydrocodone
              chargebacks.12 This is the only chargeback for this store that is found in the Allergan chargeback
              data for the entire time period analyzed by Ms. Keller, and the total of 600 Norco dosage units
              would fill an average of 6 prescriptions.

             Three chargebacks for Norco shipments to a CVS store (at the time Revco Discount Drug Center)
              in Akron. In addition to Ms. Keller’s flagged chargebacks, the data show two other chargebacks
              of Norco to the same store, for a total of five chargebacks.

                  The first chargeback, on September 19, 2004, reflects 2 Norco packages totaling 200 dosage
                   units, which would fill an average of 2 prescriptions. This chargeback was not flagged.
                  The second chargeback, on September 20, 2004, reflects 1 Norco package totaling 100
                   dosage units, which would fill an average of 1 prescription. This chargeback was not flagged.
                  The third chargeback, on September 12, 2005, reflects 2 Norco packages totaling 200 dosage
                   units, which would fill an average of 2 prescriptions. This chargeback was flagged by Ms.
                   Keller’s “Actavis (Teva): 125% Order Average” metric, which is triggered by “any buyer that
                   placed a single order that was 125% of their previous six-month average per order of a
                   specific NDC.” 13

                       This chargeback does not appear to meet the criteria described in Ms. Keller’s report, as
                        there are no chargebacks for this buyer in the previous six months. It is possible this
                        chargeback was flagged in error by comparison to the September 2004 chargebacks,
                        which occurred one year prior. If so, this chargeback would have been flagged because
                        the 200 dosage units on the flagged order was more than 125% of the 150 average dosage
                        units of the two previously described September 2004 orders, despite the total of 200

         11   If instead one were to assume the “[t]otal MMEs consumed for appropriate treatment” as described by Professor
              Rosenthal in her report, each Norco package would equate to roughly 5 prescriptions (100 pills * 10 mg = 1000 MMEs,
              1000 MMEs ÷ 210 MMEs = approximately 5 prescriptions). Rosenthal Report ¶¶ 94, 98–99.
         12   Expert Analysis: Lacey R. Keller, April 15, 2019 [hereinafter “Keller Report”] ¶ 55.
              Keller backup materials show this chargeback being flagged by “doses_double_national_avg_flag” and
              “mmes_double_national_avg_flag.”
         13   Keller Report ¶ 68.
              Keller backup materials show this chargeback being flagged by “doses_actavis_ndc_order_flag.”



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                              dosage mtits being less than the total combined 300 dosage units of the September 2004
                              orders.
                     • The fourth chargeback, on March 2, 2006, reflects 1 Norco package totaling 100 dosage
                         mtits, which would fill an average of 1 prescription. The fifth chargeback, on March 5, 2006,
                         also reflects 1 Norco package totaling 100 dosage units, which would fill an average of 1
                         presc1ipti.011. These chargebacks were jointly flagged by Ms. Keller's "common sense"
                         metric, which is tliggered if "prescriptions or orders witltin a rolling 30-day pe1iod were in
                         excess of their maximum dosage units or frequency of transactions in any of the preceding six
                         months." 14
                         •    This flagging appears to have occuned because the "frequency of transactions" exceeded
                              the "maximum" in "the preceding six months." More specifically, Ms. Keller's algorithm
                              identified two orders of 100 pills as an increase over the one order of 200 pills on
                              September 12, 2005, despite both sets of transactions involving shipments of200 total
                              pills in the month.

              Figure 5. Allergan chargeback transactions to pharmacies with transactions flagged by Ms. Keller


                                                                                                     Dosage
                   Buyer name                        Date              Product             Qty                  Est. Rx             Keller flag
                                                                                                      units
CVS (Akron)                                        9/19/2004    Norco 10/325Mg                   2       200           2
CVS (Akron)                                        9/20/2004    Norco 10/325Mg                   1       100           1
CVS (Akron)                                        9/12/2005    Norco 10/325Mg                   2       200           2   Actavis 125%
CVS (Akron)                                         3/2/2006    Norco 10/325Mg                   1       100           1   Common sense
CVS (Akron)                                         3/5/2006    Norco 10/325Mg                   1       100           1   Common sense
CVS (Stow)                                         8/28/2005    Norco 10/325Mg                   6       600           6    Double National Average
              Source: Keller backup materials; IQVIA data.




              11.D. Allergan transactions in Cuyahoga and Summit counties account
              for only- of national Allergan transactions
   (13)       In Figure 6, I present retail transactions for Kadi.an and Norco in Cuyahoga and Summit counties as a
              percentage of national retail transactions for Kadi.an and Norco, as found in Dr. McCann's processed




              14    Keller Report 158.
                    Keller backup materials show these charge.backs being flagged by " charge.backs_ conunon_sense_ flag" but not
                    "doses_ c,o mmon_ sense~flag" or "nuues_ conunon _sense_ flag."



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